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UNITED STATES DISTRICT COURT a
SOUTHERN DISTRICT OF NEW YORK POC Fr
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UNITED STATES OF AMERICA SEALED INDICTMENT
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REZA OLANGIAN,

a/k/a “Raymond Avancian,” ‘ Z GRIM ¢ LE Oe
a/k/a “Ray,” J ilvi ¢ od &

Defendant.

COUNT ONE
(Conspiracy To Acquire And Transfer Anti-Aircraft Missiles)

The Grand Jury charges:

1. From at least in or about May 2012, up to and
including in or about October 2012, in an offense begun and
committed outside of the jurisdiction of any particular State or
district of the United States, REZA OLANGIAN, a/k/a “Raymond
Avancian,” a/k/a “Ray,” the defendant, who will be first brought
to and arrested in the Southern District of New York, and others
known and unknown, unlawfully and knowingly did combine,
conspire, confederate and agree together and with each other to
violate Section 2332g of Title 18, United States Code.

2. It was a part and an object of the conspiracy that
REZA OLANGIAN, a/k/a “Raymond Avancian,” a/k/a “Ray,” the
defendant, a United States nationa’, and others known and
unknown, knowingly and willfully would and did produce,

construct, otherwise acquire, transfer directly and indirectly,
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receive, possess, import, and use (1) an explosive and incendiary
rocket and missile that is guided by any system designed to
enable the rocket or missile to seek and proceed toward energy
radiated and reflected from an aircraft and toward an image
locating an aircraft, and otherwise direct and guide the rocket
and missile to an aircraft; (2) a cevice designed and intended to
launch and guide said rocket and missile; and (3) a part and
combination of parts designed and redesigned for use in
assembling and fabricating said rocket, missile, and device; to
wit, OLANGIAN agreed to acquire anc transfer surface-to-air
missile systems for the purpose of conveying them to Iran, in
violation of Title 18, United States Code, Section 2332g.
Overt Acts

3. In furtherance of the conspiracy and to effect the
illegal object thereof, REZA OLANGIAN, a/k/a “Raymond Avancian,”
a/k/a “Ray,” the defendant, and others known and unknown,
committed the following overt acts, among others:

a. On or about August 17, 2012, OLANGIAN, who

was then in Iran, participated in a live videoconference with a
confidential source acting at the direction of the United States
Drug Enforcement Administration (“DEA”) and purporting to be a
weapons and aircraft broker (the “CS”), during which conference
OLANGIAN and the CS discussed, among other things, the sale to

OLANGIAN of IGLA-S missile systems, and the CS showed OLGANIAN an
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IGLA-S missile system, which OLANGIAN inspected.

b. On or about Aucust 25, 2012, OLANGIAN and the
CS spoke by telephone and discussecl, among other things, details
regarding the inspection of the IGLA-S missile systems requested
by OLANGIAN and the prices and method of payment for those items.

Cc. On or about September 6, 2012, OLANGIAN sent
én e-mail to the CS, asking the CS, among other things, to send
OLANGIAN a photograph of the IGLA-S missile that the CS had
displayed during the August 17, 2012 teleconference, as described
in subparagraph (a) above.

(Title 18, United States Code, Sections
2332g(a) (1), (b) (2), (c) (1), & 3238.)
COUNT TWO
(Attempt To Acquire And Transfer Anti-Aircraft Missiles)

The Grand Jury further charges:

4. From at least in or about May 2012, up to and
including in or about October 2012, in an offense begun and
committed outside of the jurisdiction of any particular State or
district of the United States, REZA OLANGIAN, a/k/a “Raymond
Avancian,” a/k/a “Ray,” the defendant, a United States national,
who will be first brought to and arrested in the Southern
District of New York, knowingly and willfully did attempt to
acquire, transfer directly and indirectly, receive, possess,

import, and use (1) an explosive and incendiary rocket and
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missile that is guided by any system designed to enable the
rocket or missile to seek and proceed toward energy radiated and
reflected from an aircraft and toward an image locating an
aircraft, and otherwise direct and guide the rocket and missile
to an aircraft; (2) a device designed and intended to launch and
quide said rocket and missile; and (3) a part and combination of
parts designed and redesigned for use in assembling and
fabricating said rocket, missile, end device; to wit, OLANGIAN
attempted to acquire and transfer surface-to-air missile systems
for the purpose of conveying them to Iran, in violation of Title
18, United States Code, Section 2322g.

(Title 18, United States Code, Sections 2332g(a) (1), (b) (2),
(c) (1), 3238, & 2.)

COUNT THREE

(Conspiracy to Violate the International Emergency Economic
Powers Act (“IEEPA”))

The Grand Jury further charges:

5. From at least in or about May 2012, up to and
including in or about October 2012, in an offense begun and
committed outside of the jurisdiction of any particular State or
district of the United States, REZA OLANGIAN, a/k/a “Raymond
Avancian,” a/k/a “Ray,” the defendant, who will be first brought
to and arrested in the Southern District of New York, and others

known and unknown, unlawfully, willfully, and knowingly did
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combine, conspire, confederate, and agree together and with each
other to violate, and to cause a violation of, licenses, orders,
regulations, and prohibitions issued under the International
Emergency Economic Powers Act, Title 50, United States Code,
Sections 1701 to 1707, and Part 560 of Title 31, Code of Federal
Regulations.

6. It was a part and an object of the conspiracy that
REZA OLANGIAN, a/k/a “Raymond Avancian,” a/k/a “Ray,” the
defendant, and others known and unknown, would and did export,
reexport, sell, and supply, and cause to be exported, reexported,
sold, and supplied, directly and ir.directly, by a United States
person, to wit, OLANGIAN, goods, technology, and services, to
wit, weapons, aircraft, and aircraft parts to Iran, without
obtaining the required approval frem the Department of Treasury,
Office of Foreign Asset Control (“CFAC”), in violation of Title
50, United States Code, Sections 1701 to 1707, and Title 31, Code
cf Federal Regulations, Sections 560.203 and 560.204.

Overt Acts

7. In furtherance of the conspiracy and to effect the
illegal object thereof, REZA OLANGIAN, a/k/a “Raymond Avancian,”
a/k/a “Ray,” the defendant, and others known and unknown,
committed the following overt acts, among others:

a. On or about May 2, 2012, OLANGIAN traveled to

Kiev, Ukraine, and met with the CS and other individuals.
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b. On or about May 2, 2012, OLANGIAN discussed
with the CS specifications for aircraft parts that OLANGIAN
wanted to acquire.

Cc. On or about August 21, 2012, OLANGIAN sent an
e-mail to the CS, emphasizing the urgent need to consumate the
transaction, and stating, among other things, that OLANGIAN had
“a Signed contract to provide the coods.”

(Title 50, United States Code, Section 1705; Title 18, United
States Code, Section 3238.)
COUNT FOUR
(Attempt to Violate IEEPA)

The Grand Jury further charges:

8. From at least in or about May 2012, up to and
including in or about October 2012, in an offense begun and
committed outside of the jurisdiction of any particular State or
district of the United States, REZA OLANGIAN, a/k/a “Raymond
Avancian,” a/k/a “Ray,” the defendant, who will be first brought
to and arrested in the Southern District of New York, unlawfully,
willfully, and knowingly did attempt to violate, and did attempt
to cause a violation of, licenses, orders, regulations, and
prohibitions issued under the International Emergency Economic
Powers Act, Title 50, United States Code, Sections 1701 to 1707,
and Part 560 of Title 31, Code of Federal Regulations, to wit,

OLANGIAN attempted to export, reexport, sell, and supply, and
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attempted to cause to be exported, reexported, sold, and
supplied, directly and indirectly, by a United States person, to
wit, OLANGIAN, goods, technology, and services, to wit, weapons,
aircraft, and aircraft parts to Iran, without obtaining the
required approval from OFAC, in violation of Title 50, United
States Code, Sections 1701 to 1707, and Title 31, Code of Federal

Regulations, Sections 560.203 and 560.204.

(Title 50, United States Code, Section 1705; Title 18, United
States Code, Sections 3238 & 2.)

FORFEITURE AILEGATION

9. As a result of committing the offenses charged in
Counts One through Four of this Incictment, REZA OLANGIAN, a/k/a
“Raymond Avancian,” a/k/a “Ray,” tke defendant, shall forfeit to
the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C. § 2461, all property, real and personal, that constitutes
cr is derived from proceeds traceable to the commission of the
cffenses charged in Counts One through Four, including but not
limited to a sum of money representing the amount of proceeds
obtained as a result of the offenses.

Substitute Assets Provision

10. If any of the above-described forfeitable
property, as a result of any act or omission of the defendant:

(1) cannot be located upon the exercise of due
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diligence;

(2) has been transferred or sold to, or deposited

with, a third party;

(3) has been placed beyond the jurisdiction of

the court;

(4) has been substantially diminished in value;

or

(5) has been commingled with other property which

cannot be subd:.vided without difficulty;

it is the intent of the United States, pursuant to 18 U.S.C.

& 981(a) (1) (C), to seek forfeiture of any other property of said

defendant up to the value of the above forfeitable property.

(Title 18, United States Code, Section 981(a) (1) (Cc);
Title 28, United States Code, Section 2461.)

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FOREPERSON-Y PREET BHARARA
- United States Attorney
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Form No. USA-338s-274 (Ed. 9-25-58)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
Vv.
REZA OLANGIAN,
a/k/a “Raymond Avancian,”

a/k/a “Ray,”

Defendant.

SEALED INDI.CTMENT

12 Cr.

(18 U.S.C. §§ 2322g, 3238, 2;
50 U.S.C. § 1705; 31 C.F.R.
§§ 560.203, 360.204)

PREET BHARARA
United States Attorney.

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